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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                                Case No. 1:24-cr-00091 (GHW)

              -v-
                                                         NOTICE OF MOTION
ANDREY KOSTIN et al.,

                               Defendants.




         PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Defendant Vadim Wolfson’s Motion for a Bill of Particulars, to Suppress Fruits of Searches for

Lack of Probable Cause, and to Require Production of Grand Jury Materials, the Declaration of

David C. Rybicki, dated November 25, 2024, and all other papers and proceedings, Defendant

Vadim Wolfson will move this Court, before the Honorable Gregory H. Woods, United States

District Judge for the Southern District of New York, located at 500 Pearl Street, New York, New

York 10007, on the date and time to be set by the Court, for an order for a bill of particulars, an

order of suppression, an order making available grand jury materials, and such other fair and

equitable relief as may be appropriate.

         PLEASE TAKE FURTHER NOTICE that Defendant Gannon Bond joins this motion and

that the United States opposes it.

Dated:    November 25, 2024

                                                     /s/ David C. Rybicki
                                                     David C. Rybicki
                                                     Michael C. Harper
                                                     Robert S. Silverblatt
                                                     K&L Gates LLP
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